Case 1:20-cv-01519-MAK Document 101 Filed 06/28/21 Page 1 of 21 PageID #: 2183




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

FEENIX PAYMENT SYSTEMS, LLC,   )
and FEENIX VENTURE PARTNERS,   )
LLC,                           )
                               )
           Plaintiffs,         )
                               )
     v.                        )                      No. 20-1519-MAK
                               )
STEEL CAPITAL MANAGEMENT, LLC, )                      JURY DEMANDED
STEEL PAYMENTS, LLC, MICHAEL   )
HOFFMAN, and MARC SEHGAL,      )
                               )
           Defendants.         )

                               SECOND AMENDED COMPLAINT

       Plaintiffs, Feenix Payment Systems, LLC (“FPS”) and Feenix Venture Partners, LLC,

(“FVP” and together with FPS, “Feenix”), bring this action against Defendants, Steel Capital

Management, LLC (“SCM”), Steel Payments, LLC (“SP”), Michael Hoffman, and Marc Sehgal

(with Hoffman, the “Individual Defendants”).

                                          INTRODUCTION

       1.         This action arises out of Defendants’ misappropriation and improper disclosure of

Feenix’s trade secrets and confidential information concerning its investment strategy of coupling

growth-capital investments and payment-processing services. The Individual Defendants learned

these trade secrets during their tenures at Feenix and, in contravention of their contractual

obligations to Feenix, launched a derivative, competing investment firm that has both utilized and

publicly disclosed these trade secrets.

       2.         After leaving H/2 Capital Partners, a multi-billion dollar commercial real estate

investment firm, in July 2017, Feenix founder Keith Lee started FPS, a vendor of payment-

processing services. He did so after discovering that many companies in the hospitality, retail and



{MDSUW0201937.}
Case 1:20-cv-01519-MAK Document 101 Filed 06/28/21 Page 2 of 21 PageID #: 2184




food & beverage industry were paying high fees for processing services that could be provided at

a lower cost.

       3.         After further concluding that he would be unable to convince companies to switch

to FPS once incumbent payment processors matched its lower fees, Lee drew from his investment

and structured finance experience to create a market offering that (1) provided payment-processing

fees, through FPS, and (2) provided the companies paying those fees with access to cash to finance

their growth, through FVP. Combining the two components together allowed Feenix to provide a

unique offering for, and means of attracting, portfolio companies in the competitive payment-

processing and growth-capital lending market.

       4.         In addition to aligning Feenix’s incentives with the companies in which it invested,

Feenix’s investors benefited from a steady stream of income from payment-processing fees in

conjunction with real-time transparency into these companies’ sales. The payment-processing fees

allowed FVP to offer more attractive terms on capital and the transparency also reduced the

reporting burdens these companies owed to their investors.

       5.         In early 2018, Lee brought Hoffman and Sehgal on as partners in FVP, with

Hoffman to serve as general counsel and Sehgal to join Lee on the investments team. Shortly after

joining, each of them memorialized the terms of the partnership in the Amended and Restated

Limited Liability Company Agreement of FPS, dated February 26, 2018, which was later amended

and restated as the Second Amended and Restated Limited Liability Company Agreement of FPS,

dated October 31, 2018 (the “Operating Agreement”) (Exhibit A hereto).

       6.         In early 2020, Lee and Feenix decided it was best to part ways with Sehgal, and

separation talks began in February 2020. Although he was FVP’s general counsel, however,

Hoffman refused to take a leading role in the negotiation of Sehgal’s separation. Without the



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Case 1:20-cv-01519-MAK Document 101 Filed 06/28/21 Page 3 of 21 PageID #: 2185




company’s own lawyer driving these negotiations, Sehgal’s resulting separation agreement

contained fewer burdensome terms binding him than would be expected given the situation. Lee

and Feenix would come to conclude that Hoffman’s refusal to take an active role in those

negotiations was by design.

          7.      Shortly after Sehgal’s departure, Hoffman gave notice of his intent to leave and

proposed a separation agreement whose terms were similar to Sehgal’s separation agreement.

Without understanding the nature of Sehgal’s and Hoffman’s parallel conduct, Feenix and Hoffman

executed this separation agreement.

          8.      Only two months after their departures from Feenix, Hoffman and Sehgal

proceeded to form SCM and SP (together, “Steel Capital”), by leveraging Feenix’s trade secrets.

In doing so, Steel Capital has disclosed some of these trade secrets by openly advertising the

business model and strategy that Feenix had originally pioneered and had not disclosed publicly.

          9.      The Individual Defendants’ use of these trade secrets violates their obligations of

confidentiality and non-solicitation under the Operating Agreement and constitutes tortious

misconduct. Feenix brings suit to stop Defendants’ unlawful use of Feenix’s trade secrets and to

recover from them the harm that Feenix has suffered.

                                              PARTIES

          A.      Plaintiffs

          10.     Feenix Payment Systems, LLC is organized under Delaware law and headquartered

at 325 Hudson Street, 4th Floor, New York, New York. FPS is the credit-card processing arm of

Feenix.

          11.     Feenix Venture Partners, LLC is organized under Delaware law and headquartered

at 325 Hudson Street, 4th Floor, New York, New York. FVP is Feenix’s investment arm.



{MDSUW0201937.}                                    3
Case 1:20-cv-01519-MAK Document 101 Filed 06/28/21 Page 4 of 21 PageID #: 2186




       B.         Defendants

       12.        Steel Capital Management, LLC is organized under Delaware laws and, upon

information and belief, headquartered in New York, New York.

       13.        Steel Payments, LLC is organized under Delaware law and, upon information and

belief, headquartered in New York, New York.

       14.        Michael Hoffman is Co-CEO and Co-Founder of Steel Capital, a former Partner,

Investment Committee member, and General Counsel of FVP, and former member of FPS. He is

a resident of New York.

       15.        Marc Sehgal is Co-CEO and Co-Founder of Steel Capital, a former Partner and

Investment Committee member of FVP, and former member of FPS. He is a resident of New York.

                                   JURISDICTION AND VENUE

       16.        This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 because the action raises a federal question under the Defend Trade Secrets Act of 2016,

18 U.S.C. §§ 1831 et seq. The Court has supplemental jurisdiction over Feenix’s other claims

pursuant to 28 U.S.C. § 1367.

       17.        Venue lies within this District under 28 U.S.C. § 1391(b) because the Operating

Agreement and separation agreements at issue each contain forum selection clauses providing that

the parties consent to venue of the federal courts located in Delaware in connection with any action

relating to the agreements.

                                     FACTUAL ALLEGATIONS

       A.         The Founding of Feenix

       18.        Lee left his position as a Managing Director at H/2 Capital Partners, a multi-billion

commercial real estate investment firm, in July 2017. In the course of working with operating



{MDSUW0201937.}                                     4
Case 1:20-cv-01519-MAK Document 101 Filed 06/28/21 Page 5 of 21 PageID #: 2187




models in this industry, he noticed that credit card processing fees were higher than the lower rates

advertised online, even for large organizations.

       19.        Leveraging his connections in the hotel and hospitality space, Lee founded FPS and

began offering those payment-processing services. He started pitching companies (including

automobile dealerships, restaurants, and hotels) to convince them to switch their payment-

processing services. These companies were (of course) interested in paying lower fees, but Lee

further concluded that if large-scale payment processors ever faced real pricing pressure, they

would be able to match the lower fees offered by FPS to retain customers. As a result, FPS would

need to offer more than just lower fees to win business away in meaningful scale from incumbent

processors.

       20.        Drawing on both his experience investing in early-stage growth companies and his

financing experience from his time as UBS Investment Bank’s head of US Structured Financing,

Lee concluded that the best way to incentivize these companies to switch to FPS for their payment-

processing needs was to couple the service with equity, debt, and/or combination investment

capital. What these companies needed most, like all growth-stage companies, was money.

       21.        Feenix’s investment model and strategy is unique primarily because of the manner

in which it couples its venture initiatives with payment-processing services. Under and through

this model, Feenix’s interests are uniquely aligned with the incentives of its portfolio companies,

because money earned through Feenix’s payment-processing fees scales with its portfolio

companies’ growth. Lee founded FVP in December 2017 to make the cash investments, creating

the current Feenix structure.

       22.        This structure enabled significant benefits to each of Feenix, its investors, and the

portfolio companies. The payment-processing operations provide real-time transparency to the



{MDSUW0201937.}                                     5
Case 1:20-cv-01519-MAK Document 101 Filed 06/28/21 Page 6 of 21 PageID #: 2188




companies’ sales, a useful risk-management tool that also alleviates portfolio companies’ reporting

burdens and limits their financial covenants. The fees that Feenix receives from these contracts

create a steady stream of revenue for investors in Feenix’s funds, in addition to equity-like upside

if the portfolio company grows. Since Feenix tends to favor safer debt investments, that upside

also often comes without the customary downsides of equity investment.

       23.        This revenue stream puts less pressure on its portfolio companies to reach

liquidation events. (A liquidation event is an event that causes a company either to be sold or to

cease to exist as a standalone company. It results in investors being cashed out of some or all of

their ownership shares. In many traditional venture capital arrangements, a liquidation event is the

only way for an investor to receive a return on its investment.) The two-entity structure allows for

flexibility if a tax-sensitive limited partner cannot participate in the payment-processing income.

       24.        Additional benefits of the strategy to Feenix’s portfolio companies include

competitive interest rates, alignment of interests in growing the business, no equity dilution, no

prepayment penalties, flexible terms according to what the company needs, committed future

funding upon reaching certain preset milestones, and monetizing an expense for which the

company would otherwise receive little benefit. These benefits are available as a direct result of

Feenix’s investment structure and the way Feenix passes the advantages it receives down to its

portfolio companies is a part of its confidential strategy.

       25.        Feenix’s strategy differentiates it from competitors in the space such as Merchant

Cash Advance (MCA) lenders, who advance cash to businesses based upon credit card sales, and

revenue-based lenders, who allow businesses to make fluctuating loan repayments in accordance

with what their cash flow allows. In fact, Feenix has confidentially discussed this investment




{MDSUW0201937.}                                   6
Case 1:20-cv-01519-MAK Document 101 Filed 06/28/21 Page 7 of 21 PageID #: 2189




structure with over 300 potential portfolio companies and many were familiar with MCA revenue-

based lenders, but none had ever encountered Feenix’s strategy.

       26.        Feenix took steps to ensure the details of this business strategy were kept

confidential. The manner in which the payment-processing contracts are drafted to integrate with

investment documents is closely guarded. Limited partners receive a presentation deck that is

confidential and that goes into only partial detail of the investment model and strategy. Companies

receive only a one-page description of Feenix that is barely more detailed than what is available

on its websites but does highlight the benefits portfolio companies can expect to receive from the

strategy. Information about Feenix’s strategy is not otherwise disclosed.

       B.         Hoffman’s and Sehgal’s Tenure with Feenix

       27.        Hoffman and Sehgal joined Lee as partners in FVP in February 2018 and March

2018, respectively. Hoffman became general counsel of FVP, while Sehgal worked with Lee on

investments. Both signed the Operating Agreement when they joined Feenix.

       28.        In early 2020, Lee thought it was best for Feenix and Sehgal if they parted ways.

In February 2020, negotiations for the separation began. During these negotiations, Lee was

surprised by how passive Hoffman was in the process in spite of his position as Feenix’s general

counsel. Considering that Hoffman would not take an active role, Lee had to drive the negotiations

with Sehgal. Sehgal told Lee during these negotiations that he would never compete with Feenix

and that if he did, he would call Lee first. Lee believed him. The Sehgal Redemption Agreement

was executed on March 11, 2020.

       29.        Hoffman’s refusal to take part in these negotiations was by design. While Lee and

Feenix were negotiating the Sehgal Redemption Agreement, Hoffman and Sehgal were plotting to

open up a competing enterprise that leveraged the unique investment model, strategy, and business

offering, and implementation of them, that Lee and Feenix had conceived and pioneered.
{MDSUW0201937.}                                   7
Case 1:20-cv-01519-MAK Document 101 Filed 06/28/21 Page 8 of 21 PageID #: 2190




       30.        Hoffman proceeded to give notice of his intent to leave Feenix only two weeks after

Sehgal’s departure. The terms of the Sehgal Redemption Agreement, which resulted in significant

part from Hoffman’s non-participation in negotiating it, was used as a template to negotiate

Hoffman’s own redemption agreement on similar terms. The Hoffman Redemption Agreement

was executed on March 27, 2020.

       C.         Hoffman and Sehgal Violate Their Contractual Obligations and Steel Capital
                  Improperly Discloses Feenix’s Confidential Information

       31.        Only two months after leaving Feenix, Hoffman and Sehgal formed Steel Capital.

Having seen the success and growth of Feenix, Hoffman and Sehgal launched SCM by copying

Feenix’s investment model and strategy of coupling payment processing with growth capital and

using business knowledge acquired while at Feenix, such as how to structure contractual

arrangements to implement the strategy, how to explain and sell the benefits of the strategy to

limited partners, how to source and analyze portfolio company investment opportunities, how to

price services based on experience with trends and portfolio-companies’ preferences in this

segment of the market, how to use the payment-processing data to judge performance and risk

levels, and how to negotiate with portfolio companies to achieve maximum returns.

       32.        Steel Capital also copied Feenix’s two-entity structure, through SCM and SP.

Whereas Feenix took steps to keep its unique offering protected, however, Steel Capital openly

advertised and disclosed the strategy on its website:




{MDSUW0201937.}                                    8
Case 1:20-cv-01519-MAK Document 101 Filed 06/28/21 Page 9 of 21 PageID #: 2191




       33.        The SCM website also discloses details of the strategy, including granular details

with respect to the aforementioned way Feenix passes down benefits to portfolio companies:




{MDSUW0201937.}                                   9
Case 1:20-cv-01519-MAK Document 101 Filed 06/28/21 Page 10 of 21 PageID #: 2192




        34.        This publication of Feenix’s confidential integrated business model and strategy is

 and continues to be an improper disclosure of trade secrets. Indeed, SCM’s website reads like a

 distillation of the confidential presentations that Feenix provides to its limited partners and

 confidential pamphlet that Feenix provides to potential portfolio companies.



 {MDSUW0201937.}                                   10
Case 1:20-cv-01519-MAK Document 101 Filed 06/28/21 Page 11 of 21 PageID #: 2193




        35.        Recalling the most common alternatives to Feenix’s strategy from their

 conversations with potential portfolio companies while at Feenix, Defendants also highlight the



 {MDSUW0201937.}                               11
Case 1:20-cv-01519-MAK Document 101 Filed 06/28/21 Page 12 of 21 PageID #: 2194




 distinctions from MCA and revenue-based lenders on the Steel Capital website:




        36.        Steel Capital has also contacted at least three of Feenix’s current portfolio

 companies, with the apparent intent to offer its competing services.

        37.        Section 15.5(a) of the Operating Agreement states:

                   Each of the Holders and each Board Member (collectively, the
                   “Restricted Parties”) recognizes and acknowledges that such
                   Restricted Party will be entrusted with or have access to confidential
                   and proprietary information which is the property of the
                   Companies and/or third parties to which the Companies owe a
                   duty of confidentiality (whether pursuant to Applicable Law, by
                   contract or otherwise). Each Restricted Party therefore agrees that,
                   at all times while such Restricted Party is a Holder or Manager, and
                   for a period of eighteen (18) months thereafter, such Restricted Party
                   shall (i) not, without the prior written consent of the Board of
                   Managers, directly or indirectly, use, copy or duplicate, or disclose
                   or otherwise make available to any third party, any Confidential
                   Information (as defined below) other than in the performance of
                   such Restricted Party’s duties with respect to the Companies, (ii)
                   take such protective measures as may be reasonably necessary to
                   preserve the secrecy and interest of the Companies (or, if
                   applicable, of a third party to which the Companies owes a
                   duty of confidentiality) in the Confidential Information and (iii)
                   not, without the prior written consent of the Board of Managers,
                   utilize or convert Confidential Information for such Restricted

 {MDSUW0201937.}                                    12
Case 1:20-cv-01519-MAK Document 101 Filed 06/28/21 Page 13 of 21 PageID #: 2195




                   Party’s own benefit or gain, of whatever nature other than in
                   performance of such Restricted Party’s duties with respect to the
                   Companies. As used herein, the term “Confidential Information”
                   shall mean trade secrets and other non-public information, whether
                   tangible or intangible, in any form or medium, relating to the
                   business or affairs of the Companies that is proprietary to the
                   Companies (or relating to the business or affairs of a third party to
                   which the Companies owes a duty of confidentiality) and which the
                   Companies makes reasonable efforts to keep confidential.

 (Ex. A at 37.) Section 15.5(c) of the Operating Agreement provides:

                   During the period commencing on the date of this Agreement and
                   ending on the eighteen (18) month period following the date that a
                   Restricted Party is no longer a Holder, Member, or Manager, no
                   Restricted Party shall, directly or indirectly, as agent, employee,
                   consultant, distributor, representative, equity holder, manager,
                   partner or in any other capacity, employ or engage, or recruit or
                   solicit for employment or engagement, any Person (i) who is
                   employed or engaged by any of the Companies (both before and
                   after the date hereof) or (ii) who was employed or engaged by any
                   of the Companies within six months of such contact.

 (Id.) (emphases added). In violation of the Operating Agreement, the Individual Defendants used

 Confidential Information to create their own competing fund and disclosed Confidential

 Information through Steel Capital’s website. The Individual Defendants violated Section 15.5(e)

 of the Operating Agreement’s non-solicitation and non-engagement provision in soliciting and

 engaging with each other to create this derivative venture. The provision’s language regarding

 engagement specifically addresses situations where former partners mutually decide to work

 together without either former partner technically soliciting the other.

                                         CAUSES OF ACTION

                                     FIRST CAUSE OF ACTION
                                     The Defend Trade Secrets Act
                                       (Against All Defendants)

        38.        Feenix incorporates the allegations above.




 {MDSUW0201937.}                                    13
Case 1:20-cv-01519-MAK Document 101 Filed 06/28/21 Page 14 of 21 PageID #: 2196




        39.        Feenix is the owner of valuable trade secrets related to products and services used

 in, or intended for use in, interstate or foreign commerce. Such trade secrets comprise Feenix’s

 financial, business, scientific, technical, economic and engineering information, including but not

 limited to, compilations, program devices, formulas, designs, prototypes, methods, techniques,

 processes, procedures, programs and codes, both tangible and intangible and stored, compiled and

 memorialized physically, electronically and graphically.

        40.        These trade secrets include, amongst other things, the investment strategy of

 coupling growth capital investments and payment-processing services, the structuring of

 contractual arrangements to implement this strategy, materials used to explain and sell the benefits

 of this strategy to limited partners, sourcing and analysis of portfolio-company investment

 opportunities, pricing models based on experience with trends and portfolio-companies’

 preferences in this segment of the market, the use of the payment-processing data to judge

 performance and risk levels, and negotiation tactics with portfolio companies to achieve maximum

 returns. Feenix has taken reasonable measures to keep such information secret.

        41.        Feenix’s trade secrets derive independent economic value, actual or potential, from

 not being generally known to, and not being readily ascertainable through proper means by, another

 person who can obtain economic value from the disclosure or use of the information.

        42.        Defendants disclosed and/or used Feenix’s trade secrets without Feenix’s express

 or implied consent. Defendants have used improper means in using Feenix’s trade secrets by failing

 to abide by the confidentiality provision of the Operating Agreement.

        43.        Defendants knew or had reason to know at the time of disclosure or use that their

 knowledge of the trade secrets was derived from or through Feenix and that Defendants used

 improper means to acquire the trade secrets. Defendants acquired the trade secrets under



 {MDSUW0201937.}                                   14
Case 1:20-cv-01519-MAK Document 101 Filed 06/28/21 Page 15 of 21 PageID #: 2197




 circumstances giving rise to a duty to maintain the secrecy of the trade secrets or limit the use of

 the trade secrets. Defendants owed a duty to Feenix to maintain the secrecy of its trade secrets or

 limit use thereof.

        44.        Defendants’ improper means in using and disclosing Feenix’s trade secrets include

 Defendants’ breach, or inducement of a breach, of a duty to maintain secrecy of the trade secrets

 and breach of the confidentiality provision of the Operating Agreement.

        45.        Defendants, with intent to convert trade secrets that are related to a product or

 service used or intended for use in interstate or foreign commerce to the economic benefit of

 Feenix, and intended or knowing that the offense will injure Feenix, did the following:

                   a.     stole, or without authorization, removed, concealed, or by fraud, artifice, or

                   deception obtained such information;

                   b.     without authorization copied, duplicated, sketched, photographed,

                   downloaded, uploaded, altered, destroyed, photocopied, replicated, transmitted,

                   delivered, sent, mailed, communicated, or conveyed such information;

                   c.     received or possessed such information, knowing the same to have been

                   stolen or appropriated, obtained, or converted without authorization;

                   d.     attempted to commit any offense described in paragraphs (a) through (c); or

                   e.     conspired with one or more other persons to commit any offense described

                   in paragraphs (a) through (c), and one or more of such persons performed an act to

                   effect the object of the conspiracy.

        46.        Defendants continue to misappropriate Feenix’s proprietary information through

 use of Feenix’s unique investment model and strategy and disclosure of this model and strategy on




 {MDSUW0201937.}                                     15
Case 1:20-cv-01519-MAK Document 101 Filed 06/28/21 Page 16 of 21 PageID #: 2198




 public websites. As a result of such misappropriation, Feenix has suffered damages in an amount

 to be determined at trial.

                                   SECOND CAUSE OF ACTION
                                  Misappropriation of Trade Secrets
                                      (Against All Defendants)

        47.        Feenix incorporates the allegations above.

        48.        Feenix is the owner of valuable trade secrets related to products and services used

 in, or intended for use in, interstate or foreign commerce. Such trade secrets comprise Feenix’s

 financial, business, scientific, technical, economic and engineering information, including but not

 limited to, compilations, program devices, formulas, designs, prototypes, methods, techniques,

 processes, procedures, programs and codes, both tangible and intangible and stored, compiled and

 memorialized physically, electronically and graphically.

        49.        These trade secrets include, amongst other things, the investment strategy of

 coupling growth capital investments and payment-processing services, the structuring of

 contractual arrangements to implement this strategy, materials used to explain and sell the benefits

 of this strategy to limited partners, sourcing and analysis of portfolio-company investment

 opportunities, pricing models based on experience with trends and portfolio-companies’

 preferences in this segment of the market, the use of the payment-processing data to judge

 performance and risk levels, and negotiation tactics with portfolio companies to achieve maximum

 returns. Feenix has taken reasonable measures to keep such information secret.

        50.        Feenix’s trade secrets derive independent economic value, actual or potential, from

 not being generally known to, and not being readily ascertainable through proper means by, another

 person who can obtain economic value from the disclosure or use of the information. Feenix

 derives an economic advantage of its competitors from its trade secrets.



 {MDSUW0201937.}                                   16
Case 1:20-cv-01519-MAK Document 101 Filed 06/28/21 Page 17 of 21 PageID #: 2199




         51.       The Individual Defendants had access to and knowledge of Feenix’s trade secrets

 during their tenures with Feenix.

         52.       Defendants disclosed and/or used Feenix’s trade secrets without Feenix’s consent.

 Defendants have used improper means in using and disclosing Feenix’s trade secrets by failing to

 abide by the confidentiality provision of the Operating Agreement and otherwise.

         53.       Defendants knew or had reason to know at the time of disclosure or use that their

 knowledge of the trade secrets was derived from or through Feenix. Defendants acquired the trade

 secrets under circumstances giving rise to a duty to maintain the secrecy of the trade secrets or

 limit the use of the trade secrets. Defendants owed a duty to Feenix to maintain the secrecy of its

 trade secrets or limit use thereof.

         54.       Defendants’ improper means in using and disclosing Feenix’s trade secrets include

 Defendants’ breach, or inducement of a breach, of a duty to maintain secrecy of the trade secrets

 and breach of the confidentiality provision of the Operating Agreement.

         55.       Defendants, with intent to convert trade secrets that are related to a product or

 service used or intended for use in interstate or foreign commerce to the economic benefit of

 Feenix, and intended or knowing that the offense will injure Feenix, did the following:

                   a.     stole, or without authorization, removed, concealed, or by fraud, artifice, or

                   deception obtained such information;

                   b.     without authorization copied, duplicated, sketched, photographed,

                   downloaded, uploaded, altered, destroyed, photocopied, replicated, transmitted,

                   delivered, sent, mailed, communicated, or conveyed such information;

                   c.     received or possessed such information, knowing the same to have been

                   stolen or appropriated, obtained, or converted without authorization;



 {MDSUW0201937.}                                    17
Case 1:20-cv-01519-MAK Document 101 Filed 06/28/21 Page 18 of 21 PageID #: 2200




                   d.     attempted to commit any offense described in paragraphs (a) through (c); or

                   e.     conspired with one or more other persons to commit any offense described

                   in paragraphs (a) through (c), and one or more of such persons performed an act to

                   effect the object of the conspiracy.

        56.        Defendants continue to misappropriate Feenix’s proprietary information through

 use of Feenix’s unique investment model and strategy and disclosure of this model and strategy on

 public websites. As a result of such misappropriation, Feenix has suffered damages in an amount

 to be determined at trial.

                                    THIRD CAUSE OF ACTION
                                          Breach of Contract
                                  (Against the Individual Defendants)

        57.        Feenix incorporates the allegations above.

        58.        The Individual Defendants are signatories to the Operating Agreement.

        59.        The Operating Agreement constitutes a valid and enforceable written contract with

 definite and certain terms.

        60.        FPS has performed and is still performing all of its required obligations under the

 Operating Agreement.

        61.        The Individual Defendants have breached the confidentiality and non-solicitation

 provisions of the Operating Agreement.

        62.        As a result of the violation of the confidentiality and non-solicitation provisions of

 the Operating Agreement, Feenix has suffered damages in an amount to be determined at trial.

                                    FOURTH CAUSE OF ACTION
                                        Unfair Competition
                                      (Against All Defendants)

        63.        Feenix incorporates the allegations above.



 {MDSUW0201937.}                                     18
Case 1:20-cv-01519-MAK Document 101 Filed 06/28/21 Page 19 of 21 PageID #: 2201




        64.        Defendants have misappropriated Feenix’s labors and expenditures through their

 unlawful use of Feenix’s trade secrets in Steel Capital’s investment and payment processing

 strategy, which is substantially the same as Feenix’s.

        65.        In misappropriating Feenix’s labors and expenditures, Defendants acted in bad faith

 and exploited Feenix’s exclusive commercial advantage.

        66.        During their tenure as members and officers of Feenix, the Individual Defendants

 misappropriated Feenix’s trade secrets and other confidential information in breach of their

 contractual obligations.

        67.        The Individual Defendants then used these trade secrets and confidential

 information to form and operate Steel Capital, exploiting the exclusive commercial advantage

 Feenix previously held through their combination of growth capital investments and payment

 processing services.

        68.        Defendants knew and know that the combination growth-capital investment and

 payment-processing-services strategy it is using belonged to Feenix. Defendants knew that

 Feenix’s strategy consisted of confidential trade secrets, and that the trade secrets were developed

 and owned by Feenix because the trade secrets were originally learned by the Individual

 Defendants during their tenure as members and officers of Feenix.

        69.        As a direct and proximate consequence of the foregoing, Feenix has no adequate

 remedy at law, has been irreparably harmed and will continue to be irreparably harmed unless

 Defendants are enjoined from using and/or disclosing Plaintiff’s trade secrets and other

 confidential information, and enjoined from engaging in the infringing conduct set forth above.

        70.        In addition, Feenix is entitled to all damages that it has sustained by virtue of the

 above conduct, in an amount to be determined at trial, including, without limitation, Defendants’



 {MDSUW0201937.}                                    19
Case 1:20-cv-01519-MAK Document 101 Filed 06/28/21 Page 20 of 21 PageID #: 2202




 profits and gains arising from the wrongful acts described herein and Plaintiff’s lost profits,

 attorneys’ fees, costs and interest.

         71.       The Defendants acted in an egregious, malicious, willful and wanton manner, and

 in bad faith when committing the acts and omissions alleged above. As a result, Feenix is entitled

 to punitive damages.

                                        PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays for relief and judgment as follows:

                       i. A judgment that Defendants misappropriated Feenix’s trade secrets as

                          alleged herein.

                      ii. A judgment that the Individual Defendants breached the Operating

                          Agreement as alleged herein.

                     iii. A judgment that Defendants must cease operation of Steel Capital.

                     iv. Damages, including treble damages, assessed against Defendants pursuant

                          to the Defend Trade Secrets Act, 18 U.S.C. §§ 1831 et seq.

                      v. Damages assessed against Defendants for misappropriating trade secrets

                          and for unfair competition, including compensatory damages, unjust

                          enrichment, or restitution damages and reasonable royalty damages.

                     vi. Imposition of a constructive trust for the benefit of Feenix as a vehicle for

                          disgorgement of all monies, profits and gains Defendants have obtained or

                          will unjustly obtain in the future at the expense of Feenix.

                     vii. A grant of a preliminary and permanent injunction to eliminate the unfair

                          advantage Defendants gained by using Feenix’s trade secrets and other

                          intellectual property.



 {MDSUW0201937.}                                   20
Case 1:20-cv-01519-MAK Document 101 Filed 06/28/21 Page 21 of 21 PageID #: 2203




                   viii. Punitive damages for Defendants’ willful and wanton misappropriation

                        and the tortious conduct described above.

                    ix. Exemplary damages pursuant to the Defend Trade Secrets Act for

                        Defendants’ willful and malicious conduct.

                     x. Expenses, costs, and attorneys’ fees.

                                     JURY TRIAL DEMAND

        Plaintiff demands a trial by jury for all claims.

                                                /s/ Thomas A. Uebler
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 {MDSUW0201937.}                                  21
